Case 2:23-cv-03689-KM-JRA Document 20 Filed 09/13/23 Page 1 of 3 PageID: 85




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


 INTERNATIONAL UNION OF
 OPERATING ENGINEERS, LOCAL                 Civil Action No.
 825,
                                            23-cv-03689 (KM) (JRA)
           Plaintiff,

      v.                                    ORDER GRANTING
                                            ADMISSION OF COUNSEL PRO
 INTERNATIONAL                              HAC VICE
 LONGSHOREMEN’S ASSOCIATION,
 INTERNATIONAL
 LONGSHOREMEN’S ASSOCIATION
 LOCAL 1233, INTERNATIONAL
 LONGSHOREMEN’S ASSOCIATION
 1235, and INTERNATIONAL
 LONGSHOREMEN’S ASSOCIATION
 LOCAL 1804-1,

           Defendants.


     THIS MATTER having come before the Court on the application of Brian A.

Jasinski, Esq. (Movant), counsel for the International Longshoremen’s

Association, ILA Local 1804-1, ILA Local 1233, and ILA Local 1235 for the pro

hac vice admission of Nicholas M. Graziano, pursuant to Local Civil Rule 101.1

(ECF Nos. 12, 17); and the Court having considered the submissions in support

of the application, which reflect that Nicholas M. Graziano satisfies the

requirements set forth in Local Civil Rule 101.1(c); and plaintiff having consented

to the pro hac vice admission of Nicholas M. Graziano (ECF No. 17 ¶ 13); and for

good cause shown,

      IT IS on this 13th day of September 2023, ORDERED that:
Case 2:23-cv-03689-KM-JRA Document 20 Filed 09/13/23 Page 2 of 3 PageID: 86




      1.     The application for the pro hac vice admission of Nicholas M.

Graziano (ECF Nos. 12, 17) is GRANTED.

      2.     Nicholas M. Graziano (Counsel Pro Hac Vice) is permitted to appear

pro hac vice in this case pursuant to Local Civil Rule 101.1(c).

      3.     Counsel Pro Hac Vice shall comply with Local Civil Rule 101.1(c)

and abide by all Rules of this Court, including all disciplinary rules, and shall

notify the Court immediately of any matter affecting said attorney’s standing at

the bar of any court in any jurisdiction.

      4.     Counsel Pro Hac Vice is deemed to consent to the appointment of the

Clerk of the Court as the agent upon whom service of process may be made for all

actions that may arise from said attorney’s participation in this case.

      5.     The Movant shall: (a) be counsel of record in this case in accordance

with Local Civil Rule 101.1(c); (b) be served all papers in this case and such

service shall be deemed sufficient service upon Counsel Pro Hac Vice; and (c) sign

(or arrange for an attorney admitted to practice in the United States District

Court for the District of New Jersey to sign) all pleadings, briefs, and other papers

submitted to this Court.

      6.     The Movant shall appear at all proceedings unless expressly excused

by the Court.   The Movant shall be responsible for the conduct of the case and of

Counsel Pro Hac Vice in this case.

      7.     Counsel Pro Hac Vice shall make all required payments to the New


                                            2
Case 2:23-cv-03689-KM-JRA Document 20 Filed 09/13/23 Page 3 of 3 PageID: 87




Jersey Lawyers’ Fund for Client Protection in accordance with Local Civil Rule

101.1(c)(2) and New Jersey Court Rule 1:28–2(a), and shall continue to make

payment, or cause payment to be made, for each calendar year in which said

attorney continues to represent any party named herein before this Court.

      8.     If not already having done so in connection with this case, Counsel

Pro Hac Vice shall pay $150.00 to the Clerk of the United States District Court

for the District of New Jersey for admission pro hac vice in accordance with Local

Civil Rule 101.1(c)(3) within 14 days of the entry of this order.   Counsel Pro Hac

Vice may participate in this litigation once payment has been made.

      9.     Counsel Pro Hac Vice is deemed to have agreed to take no fee in any

tort case in excess of New Jersey Court Rule 1:21-7 governing contingent fees.




                                         HON. JOSÉ R. ALMONTE
                                         UNITED STATES MAGISTRATE JUDGE




                                         3
